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Pankaj Malik

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT NEW YORK
-----------------------------------------------------------------X
YH LEX ESTATES LLC,                                                   Adv. Pro. No. 22-01077 (JLG)
                                                     Plaintiff,

                            -against-

NIR MEIR, RANEE A. BARTOLACCI, ERMITAGE
ONE, LLC,
                                                    Defendants.
-----------------------------------------------------------------X

                 MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE

        Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Pankaj Malik, hereby move this Court for an Order for admission

to practice pro hac vice, before the Honorable James L. Garrity Jr., to appear as counsel for Ranee

A. Bartolacci and Ermitage One LLC, Defendants in the above referenced adversary proceeding.

        I certify that I am a member in good standing of the bar in the State of New York and the

U.S. District Court for the Eastern District of New York.

        I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

Dated: April 8, 2022
       New York, NY
                                                             YK LAW LLP

                                                             /s/ Pankaj Malik
                                                             By: Pankaj Malik, Esq.
                                                             32 E. 57th Street, 8th Floor
                                                             New York, NY 10022
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